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U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FILED

JUN - 9 2023
THE UNITED STATES DISTRICT COURT ee DISTRICT. COURT
NORTHERN DISTRICT OF TEXAS LA enity
AMARILLO DIVISION

CHRISTOPHER K. MCNEILL,
Plaintiff,

TYSON FRESH MEATS, INC.,
Defendant.

Case No.: 2:23-CV-041-Z
PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

Plaintiff Christopher K. McNeill ("Plaintiff" or "CKM"), PRO SE, hereby moves for summary judgment on
his claims against Defendant Tyson Fresh Meats, Inc. ("Defendant" or "Tyson") for religious
discrimination, failure to reasonably accommodate, and retaliation, pursuant to Rule 56 of the Federal
Rules of Civil Procedure. In support of this motion, Plaintiff submits the following undisputed material
facts:

It is a matter of fact not a matter of opinion that the Defendant 1. Discriminated against CKM was 2.
Intentional and 3.Retaliatory and is still trying to deceive me and the court with answer #4 the second
non numbered statement, and finally that the defendantis liable for Negligence as the Defendant forced
CKM to take medical treatment in which he got injured that changed my life forever and pain and
suffering due to their 4.negligence and forcing CKM to take a medical procedure by coersion.

1. Discrimination:

Defendant admits that Plaintiff requested accommodations for their vaccine policy, but did not clarify
that Plaintiff tried on 2 separate occasions 10-05-2021 again on 10-13-2021 on both occasions the
Plaintiff received the only policy that HR could offer Leave of Absence plus with no pay for a year or
Terminated in the spot, CKM was told before HR or Teamsters rep even read the religious exemption.
CKM tried to ask questions but was cut off and told that's it no conversation the Defendant knew my
accomodations before they knew CKM was even requesting an accomodations. There must be an
interactive process to have attempted to accommodate the Plaintiff. The Defendant signed a bargained
agreement on September 14, 2021, including a provision for interactive accommodations for employees
with religious exemptions. # 4 on the signed by Defendant stating that the Defendant would
accommodate by an interactive process to find out CKM has extensive sales manager in Ford BMW
DODGE MITSUBISHI etc as sales manager 15 years been F&i manager 3 years the Defendant did not in
any way even try to accommodate CKM. The Plaintiff submitted two religious exemption requests, one
on October 5, 2021, and another on October 13, 2021, as well as an email to corporate on October 13,
2021 begging in the email like he was at HR both days. It is a fact the Plaintiff received a policy that the
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Defendant structured Nation wide and with the black and white signature if agreement can show it is a
fact that CKM was never interactively accommodated and with the agreement to accommodate there Is
no undue hardship that can be claimed as the Defendant already bargained and signed agreement. CKM
will also attach the same two policies offered in Michigan. The EEOC makes it very clear that just
because an employee that momentarily gives into the force, coercion, discrimination does the thing he
tried to legally get accommodations for does not mean he gives up his rights.

It is a matter of Fact and not Opinion that Defendant Discriminated against

Plaintiff CKM in their own agreement.

Attachments

1A: Bargained agreement

2A: Religious Exemptions

3A: Michigan plant received same two options (policies) as my bargained interactive accommodation
(showing that ! did not get accommodation as fact)

4A: EEOC cited CKM does not give up rights even if he momentarily gives in and takes medical treatment
he still has all his religious rights.

5A: Email to corporate same day as second try at religious exemption (shows how desperate defendant
was really trying to get an accommodation)

2. Intentional infliction of emotional distress:

The Defendant intentionally ignored the Plaintiffs pleas on the 5th of October 2021, again in the 13th of
October, and never replied to any calls or emails. CKM asked please please please please please at least
reply to email sent on 10-13-2021 Chris was begging hr as in email that is attached and will show how
desperate the Plaintiff was. The Defendant would send certified mail with the letter inside stating he
had 10 days to pay on health benefits but the mail wasn't mailed til 12 days later so health insurance
cancelled. The defendant calls and offers CKM workmen's comp that he has to say no to because he
would have to sign the Defendants paperwork making any action the Plaintiff could take null and void.
The Defendant has there own workman's comp. The Defendant states on after answer #4. Admitting
Jurisdiction (Tyson is without sufficient knowledge to admit or deny wether CKM filed a charge of
Discrimination with EEOC they also state wether | received a right to sue. The Defendant answered the
EEOC as respondent and got the exact same email at the same time CKM got the email it was cc to
them. They don't want the court to be aware that yes they did know that and that is the intentional
reason | was terminated with no notice 1 day after we both got right to sue with no determination made
by EEOC that was intentional and I also lost my long term disability on 01-16-2023 so they are
intentionally trying to hurt the person that has already had his life changed forever due to the adverse
reaction. Facts Intentional infliction of emotional distress.

1B: certified letter and date mailed

2B: Defendants employee name and # that offered workman's compensation

3B: proof Defendant knew of EEOC and answer as respondent

4B Right to sue letter cc to Defendant proof that they knew Eeoc right to sue lied in answer 14th fired
CKM in 15th

3. Retaliation
The Defendant Cancelled CKM insurance with a very easy to see retaliation dating notice 12 days later
mailing it was cancelled before CKM received when he needed it badly due to the adverse reaction that
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he had. The Defendant Terminated him the day after they received the right to sue letter and they felt
like they could treat me any way again they felt | am glad this court can see it, I'm here and Im attaching
the form | got in January when | luckily found out by chance no one notified me and they had no reason
for termination at the time. The long term insurance stopped 31 days after ! was released for no reason
no change in any physician that has seen or talked to me now [ haven't had any check since 1-11-2023 |
am thankful that the court let me proceed. The very answer in this case is retaliation they want this
court to believe they are too big and that these attys didn't know.....well!'m to poor to hire an attorney
and | am stating facts that they did know and they tried to act like there unaware for only one reason. So
this very Court wouldn't know that The Defendant fired me the next day after they did receive my notice
right to sue the same day | did. Defendant ended my long term disability and didn't care. CKM had
nothing to fight back. | have GOD and he is still with me and | am faithful that the wrongs will be righted
as

facts of discrimination

1C: Termination report

2C: Ending of long-term disability

4. Negligence

The Plaintiff has shown that from before he even knew he was going to ask for religious exemption that
the Defendant signed an agreement with his Union CKM has shown that it is a fact that the Defendant
did not have any interaction with him even when he was begging so it is a fact that they discriminated
against him by the terms of there very agreement and by that aline forcing by fear of homelessness,
food, livelihood coersion, made CKM take the medical treatment that caused the adverse reaction that
has been apart of his life as painful neuropathy in his legs since two weeks after the treatment or 11-04-
2021 that Defendant forced CKM to take.

Fact Negligence

1D: Definition of Negligence

WHEREFORE, Plaintiff respectfully requests and Prays that this Court enter summary judgment in his
favor on all claims, and award damages, costs, and any further relief the Court deems just and proper.

Dated: June 9 2023

CHRISTOPHER K MCNEILL
2200 SW 7TH AVE #602
806-410-6215
cmeneili0i14@gmail.com

Attachments:

Mensorendum af Agrectietat
Manilatecy Corhi-19 Vecsiiations

sdysor Ponds (hie “Cochpany*) sind tho Teunietits 1.66dl Uivvon No, 377(heretnatier “the Union”),
togethee “the partied," recognize that the Company fe undhegping e ehallenging tne ar the Conld-19 virus

* endl ite variants centhove be plagse workera in tie Unites States. ‘The parties arieratand thet now variqnts

cP COVID-19-4xs mote contagious, hove teudly and responsible Forme cates in Dutnneton rodlup. ‘The

pct are ave het, Janet ofc commie vrs hae oenpmy aenetes, dodtors aid Howptt wre

Otte aya overwhelined, while the U.S, Cesitées sot Diseam Cotte! and Prevention is reporting nearly
ll houplralficattone and deaths in the U.8, are among the unvaccinated population. At tho sametime, the
pattiee adknowlidgo that dinsrost seventyefive perent of ourourrent tenm members are folly vaccinated.
The Company stronaly belfeves, and tho Union avknowledges that requiring our-teas mentbers to'get:
Tully vaccinatpd in thre afagle moet effective way to protdot yor tain mertibers, droit fhuntiey aid cur
womrmunities, In taascnnitindt, sfmecomplating axtergive gtiid fhith bergnining and considering tidmerans
groposaby by bent pattles, inchiding chs Dilon's proptopal thet ubvachindted ieech manatee would be
putmitted’th-ctatinie wading welring compliant protective froe covers and utilization of porkodte
teetiing a3 un alternative to vaeainatian, wttch wens rejected by the Company, the parties agread.an follows:
1, ‘Telca marnbeck-will. be required, unless exsubed for documented medical or relfgjous reasons, to
booome tfiity vaceinated” for the Covid-19 virus on or Hofore November 1, 2021,

>, “pithy vasofueved" itreanethne the teas meribat hutx reostvad two ddede of the yeanling, If required,
plus two (2) additional weeks,

9, Team membersnito aranot “fully vaoninated” by Noveniber 1, 2021, and who have not bebn
grinted an kppraved.eddomtrodation fork medical or tiigtous eagon will ba absent to
desire htt,

4. ‘Tie Company’ exit kn Rone fran lenge Ro Maa who rut
Ant adoommodwtion for. nredical or tolighot restos. sh Btorectve proved to eapeny sw pect of
cach equaat and detenriie ifn acvountiodation impossible * Seam Members wil reosive

Face

Exhibit 1 page 1

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reapanse from Miniegernent fbr ell requests property filed with Hiemaix Rasouroes, Upon request
ty the Tea Member'a union stewed, if avaliable, toay patthipats in tha proces
5. sim Conpay sha eet thas el ala esos tp agua x eal,

ts ep ths Banal a tar the COVED vaotince, Taiar Mcubwes shall be compenantod fov
time spat n eddonifoeal sebeions as standard sng: tim.

6, To encourage Them. Members to comply with this requirennent, the Camipany intends to offer
opposhmitias to gbt vacolnsted at work snd during work hours for Tearn Membets over the opynso
of thanext fow webks, .

4. By Noyember-[, 2021, the Company will ooardlinate more thant 100 vaccination svents sonoss all. - |
of ite domestic sites. .

8. The Company will mekeevery effort.ta continue torexdond onrdite veedination events far its Tearh
Iwenbers te glflble nity nsdenbwrt vessel on vaccine int Yeast ivielltty.

9. Asanniternstive, Team Members who chgose to get vaccinated! afftelte and outside work hours
shall revetve four (4) Houta pf'pald’ tint for each dose, upon providing proof of the date, time and
Ineation oT drole wapcirietiqn to the plant Hunan Resotross Depatio gat.

10, éfoetive vetrosotively to 28/20 tho aitendanee pols stall be adeoMnbitered to Teich Mentbers for
"+ GOURD. or vacolbetalated abortion

11, Tear Mombegs whp hhave tested positive for COVID~19 who unideryo treatment ralupod to efrus
, fighting waldo ee ho eye dacsocatrted td of wl tnectnnent of have phystotan’e
documeutatfon fit states the Taam Meniber myst walt dd-tuye die te an vuderlying health
condlition Hekate petting the vacoine before Novemiber.1,2021 will have the opportunity to wubrritt
a yecqunat off thbdidal!iobinmsedacion.to continua to work for 90 days post treatntedit or positive
COVID taat. ‘the Team Motthor vill thea hava up te 48 daya te baoditie Tully vacobinted, Falhite
to bb filly vacaltiatdd upon corbpletion ofthe 43 days vdill requit.in setmtlmation.

Exhibit 1 Page 2

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14, "Teary: Members who are terminated for failare.to soniply sith th Comparty’s-vacoination
thquirementott Nowahber't, 2021 buk who becomedfully vaccinated within 180 days (by April 36,
2022) of thelr termination:date shell be reinntated.

13, Team Bdenbana-who-are fidly veeoinated and-teat positive for COVID-I9 in the ain (6) month
pertod Settowing'the datara?’thik.Agreement ahell be-plaved on paid admintetrative-lowve for up to
2 waeks-(8t hours).

14, Team Members who arv-terminated for Milureto ment the Gampany’s-vacdination retyuiterignt by
‘Nowynber 1, 2081 will meintain « poxttiverehitp stator, andl will be sablecttothe Comipanty’s local
“rehire” employment protocols.

1S; The Gontpany agrees th dipsove its vadoation sligibility requicemant by reduning the tine period
fronts tiveive. (12) months to she (6) ntantlis forthe thos poefod in which Team Menibers sem thelr
fest week Of'vabatini. All othe? elements of thoapplicabls vacation polivles will:remet tire
unchenged.

16, The Company wil continue its existing praesies of paying Team Mieodbers who will befily
vaccinated by November (4.2021, a one-time paymentof $200.

VA Bffeothve January 1%, 2022, the Company agrees to Lapptenrent a mectipaten for carting go tm
off up tq a taginvinn of 20 hoyss pec calorider yous

Jn enohnnge for thé above; the Union dgrbes to the following!

1, To witintaw any pendtivg grtavances Cwhether filed by tid Intetnatlonal Untfan of any fogal
niet VAE the Hinoation of the vaoofnation mandath or the atftot of tha sane

2. Notte Mie eny addtional grievances (whether filed by the international Union or any looa! unfan)
ovet.the deaividn 4) mhnddfa the vaccine or over any individual discipling and/or termination that
results from « teans menibae’s:fallurs to comply with-this mandates —

"Exhibit 2 page 3

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Case 2:23-cv-00041-Z Document18 Filed 06/09/23 Page 7 of 34 Pace, }.

| am Christopher Kenneth McNeill. | live at 814 S Lamar Street (Life Abundant
Ministries) Amarillo TX 79106, in the United States Of Americal Where we have as one of
our very first freedoms is freedom of religion! /

=.
e | am notifying my employer Tyson, of my personal belief that taking any vaccine will come \
between gy God, faith, beliefs, that | put any foreign vaccine into my God given blood. | CQ
have paid weekly dues since my start date over 5 years ago, to my local union the c
representative (Jose ) | believe simply said they will not accept if you tum it in they will Cc
send you home for at least 3 months without pay. | do not accept that | have the right to t
practice my bellefs in choosing to not go against God and | am not getting the vaccine, ‘
and f am not quitting nor can | survive on 0 income like the union that fights for me — ,
stated to me, was ail they knew &>
>
| have called and talked to different legal entities. | am only practicing my religious rights. .
Here and now by notarized statement of myself as an individual natural born United States of ~~ A
America citizen. | am now using any and all rights | am entitled to as an American citizen. | am , f~
especially today using my rights as the Title VI} of the Civil Rights Act of 1964 and any and all of oN
the law as it protects my rights from any form if discrimination to any person or persons due to Cc
their highly regarded religious beliefs in doing or not doing any action, any act, any thing that the {4
person believes is not with his or her strong religious beliefs. | am not limiting nor stating that this =e
is the only right, or rights | am using, | am stating that due to my beliefs that | strongly stand by | mf ¥
am expecting to not get any different treatment from anyone else at my workplace. | am t.
expecting the same pay, the same overtime pay, the same job that | have been enjoying and just _ ,
won a bid to A shift at the same maintenance pay. | expect this to stay private and only be A Ct. a7
shared with decision makers in this process. .
aS

c 2.

| am expecting if Tyson sends me home as has been told will happen. | reciever the same
pay, | cannot go with 0 income and | cannot get the vaccine. | am in the United States of
America where religion has since the birth of America been a strong belief of founding fathers, ‘ “
written in the constitution and the legal right of Americans to claim without discrimination, in any
way!)

_ [haven't had a vaccine since 4-21-2010 that is the day my wife and mother of 2 of my
children took her own life! That changed me as it would anyone. | tumed to God/Jesus at that
time. | didn’t get my 4 month old daughter any vaccines after that nor my son that was turning 4
in 4 days. | haven't had a flu vaccine or any vaccine since that day as | believe that my god
given blood is the only immune system | or my children need.

No mandated or any other vaccine is going to come between my faith and make me feel as “
if | am going against my faith, my god. |.am not stating that | don't take aspirin, tylenol, etc. | am
stating that { don't take any vaccines infmy blood, or in any other way. | am a human that is also
a soul, and | don't take vaccines in any way into my perfectly healthy fully GOD immunized ’
natural blood. | have had Covid 19 and Tyson sent me home for two weeks, after their test :
stated | was Positive for the covid 19, | never had any sym#®toms except | tasted metallic

ea ee ti ta a aa iia Pa Pi pe

EMILEE R. CAIN °
NOTARY PUBLIC
STATE OF TEXAS
1D # 1328665081

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type

fiavours at times in my mouth. | am only stating this to show that God has already made my
bodies God given immune system ready to fight any disease that comes into this world and in
contact with myself or my children. | feel great and expect my rights to be upheld with the utmost
privacy and respect to be given to myself and or children and ail that is required by all
employers, educators, government, or any and all others that the rights of myself and or my
children are being tested inside the united states of america.

| truly appreciate your time and discretion to this matter.
These are highly personal beliefs and | would certainly not be sharing with any strangers as the
person reading this is to me. | am already feeling violated in a way but i am sharing this as it is
what | am forced to do to keep my way of earning a living at Tyson. | have been an employee for
over 5 years. Where | expect to continue growing with the company.

e | am going to attach some of the laws | am speaking of. | am aware of the OSHA fines
Tyson could be fined if Tyson just let unvaccinated employees work with no exemption. |
am not going to be a fine to Tyson as | will have an exemption for religious beliefs and
freedom of religion, and discrimination and hostile work environment etc...

in God WeTrust!

Thank You
Christopher Kenneth McNeill
806-410-8527

110114: il.

H.R. TYSON x
Date. x

Christopher McNeill
Date.

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3. Natio ile-any:unthir Iiboe penotice charges vulth the National Labor Relations Boardageinst the
Conspattyad tha-vdeult of the Company’ desition to mandate the vaseline, or over Ally individuel
dlsciytine and/or termafeation that regutts fram «team mntember's fallure th comply with this
mandate.

4 "To publicly sapporhthe Company's vaccination nesmiait ae: nsccanty atl paventSyl to protcat the
feat and enfety of thy Comnpany'’s loam mitendiea,

5, ‘To enwure that all of its focal unions, unictrofficend and representatives fo ndt Yo eatything that
would! undermniies thts anandate,

‘This Memorandum of Agiecment Will baoome effeative upon the duty of signutade. This.

” ‘Sihanvotenthum of Agreement will be binding on the Company, the Unies, and each tooal union
Guviading offices, roprementatives, bad siewretie) this is patty to say collective banpdning agreement
with the Comesty. THe partie will moct.te consider andl diecuns thie incorporation of any:
sibeoquéntiy lesved soaniiniory or reconaacadied federal puidetinne whieh way epply. ‘The whose is
tho-fhll axgl ponrplete agreenvict? on thi parties cor thie dateer atl acy ptovillone ot afty propdted by
‘either party sot sypliically icickadied im thin agreemoat lp domed Taoteed.

Staext trie VS, day of September 208 |.
Of Baal? of Remtietale Local Gion No. $77

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Exhibit 1 Page 4

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~ Gmail Karen Moore <km8joy@gmail.com>

Tyson Food Hit with Discrimination Claim Over Covid Vaccine Requirements |
Michigan Employment Law Advisor

Chris McNeill <cmcneill0114@gmail.com> Fri, Jun 9, 2023 at 2:21 PM
To: Karen Moore <km8joy@gmail.com>

See
Menu

Jason Shinn of Shinn Legal, PLC 3 fi 3

Michigan Employment Law Advisor

Leading Insight & Analysis of Employment Law Matters

Tyson Food Hit with Discrimination Claim
Over Covid Vaccine Requirements

By Jason Shinn on June 23, 2022

POSTED IN COVID-19

On June 9, 2022, Tyson Foods and its
subsidiary, The Hillshire Brands Company, were
sued over alleged employment discrimination.

0041-Z Daqcumen
The lawsuit ig is bya a former employee, édina

Hayslett, who claims she was terminated after
refusing the COVID-19 vaccine on religious
grounds.

Why it Matters:

We previously predicted companies should
prepare for a litigation trend over religious
discrimination claims involving Covid-19
vaccine requirements. See The Next (Litigation)
Pandemic — Religious Discrimination Claims.
This recent suit against Tyson Foods bolsters
our conclusion.

It also highlights an added wrinkle for
employers: Tennessee elected to pass
legislation punishing employers who enforced
certain workplace policies involving Covid-19
vaccine requirements. Other states have taken
similar steps to interject governmental oversight
of private sector HR; Michigan thankfully is not
one of those states.

But for companies with operations where state
legislators are now looking over their
employment policies like Tennessee, avoiding
employee Covid-19-related lawsuits is going to
be an expensive challenge.

Going Deeper:

In August 2021, Tyson Foods and its subsidiary,
The Hillshire Brands Company, made it a
condition of continuing employment that all U.S.
based Tyson employees would have to be

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vaccinated against COVID- 19 Tyson'a a5 Filed 06/09/23 Page 12 of 34 PagelD 65
required employees to provide proof of “3 A (3)
vaccination, unless an employee had a

documented and approved reasonable

accommodations for a disability or sincerely

held religious beliefs, practices, or

observances.

Plaintiff submitted a religious accommodation
request stating that her belief in the power of
prayer, faith in Christ, religious freedom, and
First Amendment rights prohibit her from
receiving a vaccination for COVID-19.

Tyson responded to Plaintiff's request for
religious accommodation with a determination
that the only accommodation Defendants could
give Plaintiff was an unpaid leave of absence
from work for a period of up to one year.
Plaintiff eventually responded by suing Tyson
nd its subsidiary.

Extending Government E Lin
Oversight to HR:

Tennessee passed a law in November 2021
prohibiting private businesses and other entities
from compelling or otherwise taking “adverse
action” against a person relative to providing
proof of having received a COVID-19
vaccination if the person objects to being
vaccinated “for any reason.” Thus, under the
Tennessee law, it is illegal for employers like
Tyson, to take adverse action against a person
based on their vaccination status.

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Further, ennessee Poli iclans remov any ° g g
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qualifying or limiting language for what Ss 4 LY

objections must accept, e.g., objections for

religious or medical reasons. This means
employees with any sort of objection, whether
unfounded or frivolous are insulated from
discipline. And this sort of broad prohibition in
Tennessee and other like-minded states will no
doubt fuel employee vaccine-related lawsuits
against employers.

Christopher K. McNeill
(806) 410-8527
cmeneill0114@gmail.com

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Section 12: Religious +h
Discrimination

[212] Compare Storey v. Bums Int'l Sec. Servs., 390 F.3d 760, 765 (3d Cir. 2004) (“An
employer's failure to reasonably accommodate an employee's sincerely held religious belief
that conflicts with a job requirement can also amount to an adverse employment action unless
the employer can demonstrate that such an accommodation would result in ‘undue
hardship.’”), EEOC v. Townley Eng’g & Mig. Co., 859 F.2d 610, 614 n.5 (Sth Cir. 1988) (“The
threat of discharge (or other adverse employment practices) is a sufficient penalty. An
employee does not cease to be discriminated against because he temporarily gives up his
religious practice and submits to the employment policy.” (internal citation

omitted)), and Rodriguez v. City of Chi., No. 95-C-5371, 1996 WL 22964, at *3 (N.D. lll. Jan.
12, 1986) (“It is nonsensical to suggest that an employee who, when forced by his employer
to choose between his job and his faith, elects to avoid potential financial and/or professional
damage by acceding to his employer's religiously objectionable demands has not been the
victim of religious discrimination.”), with Brooks v. City of Utica, 275 F. Supp. 3d 370, 378

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Forwarded message ,
From: Chris McNeill <cmoneill0114@gmail.com> 2 Jo Dekerelurs
Date: Wed, Oct 13, 2021, 6:06 PM [
Subject: Sunt da 45
: <derek burleson@tyson.com ~*
fe ° Ark Ty whrh He
Good afternoon Mr Burleson

I've called and left you two different messages and I just wanted something on paper that I
have contacted you trying to get some type of agreeable accommodation. My hétr office has
said that they only accommodation that they can offer me is a leave of absence for a year with
no pay I don't see that as an accommodating at all. I see that as me working for the company
for almost 6 years and then all the sudden receiving no pay because I have a belief that it is in
direct conflict with God to put in my God given blood a man made vaccine. I have not taking a
vaccine 4 21 2010 that is the day my wife took her own life and I tumed to my faith at the time
and still currently have my strength my faith and belief in my creator and that is a fundamental
right I am due as an american. With no discrimination I am being descriminated against if all I
am being offered is go from almost 6 years with Tyson giving my energy for a job | appreciate
and recurving a paycheck weekly I appreciate as well. To your companies offer if 0 dollars per
week with 0 appreciation for me my family and my relationship with God that is not an
accomodations and my HR department said specifically that is all they are offering anyone
with religious or medical exemptions.

I have called you specifically 3 times as you are the contact that is said to contact. It is hard to
believe that with 15 years if sakes manager at Ford Dodge Jeep Mitsubishi Honda dealerships
Lam one if the best sales people in the company. I am working as a Maintenance employee.
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ZA

My expertise and knowledge if over 15 years and certified in Finance and Income since 2001
there is an accomidation that won't hurt your company in any way and won't hurt me in any
way as I will receive the same pay as I receive now with out going against God. I do strongly
believe that I am not to take a vaccine I expect a true accomidation by the end of this week. I
have called left msgs. I have the times and proof if calls. Now I have emailed you. Please I
pray I get what I am owed by my employer protected by my country, and my governor just
wrote an executive order banning all entity's including private(Tyson) from any mandated
vaccine to employees(me) or patrons. I can sell for you I am a great talker/salesman/order
taker/ phone caller/ etc. I could write 185 or more jobs that Tyson could offer me as a true
accomidation but you get the point. If Tyson just hates people if faith and doesn't agree with
the laws if America please email or call and tell me that and we will go from there | will have
a decision to make. I believe I have with every ounce if goodness and appreciation I have for
Tyson asked fairly and in good faith to my self and my and your company Tyson plead with
the company to offer me a true accomidation because no pay for a year no person of sound
mind will agree that would be a fair accomidation any one could live, eat,pay rent, etc. On

I apologize for the Grammer within this email. I am typing it on my phone. So I am sorry for
that. Please please please please please please reply to this email. God bless you, me and
America. —

Have a great day and let me know the real accomidation your company is offering myself,
please I am running out of time but don't write me you are offering nothing for a year that is
not a true accomidation it is coercion and bullying me due to my faith.

Christopher K. McNeil!
(806) 410--8527

. .
emeneil/O/14@email.com itsubishi@gmail

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INW®NIW Jaydoys}yD

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Case 2:23-cv-00041-Z Document 18 Filed 06/09/23 Page 17 of 34 PagelD 70
Case 2:23-cv-00041-Z Document 18 Filed 06/09/23 Page 18 of 34 PagelD 71
Shawna in Legal called CKM offered him workmans comp through the Defendant not through regular and CKM was informed
he had to sign a waiver where he would lose his rights to ever hold the Defendant responsible so CKM had to decline
although he was really enticed CKM was very in need at that moment.she called from Legal she said # is 479-290-2718

x
Case 223-Cv-00041-Z Document 18 Filed 06/09/23 Page 19 of 34 PagelD 72

Tyson
February 21, 2022 No  Cuer Close
VIA EEOC PORTAL fo Fre fowash o
an Schoff, Investigator #435 Dor Urery,
U.S. Equal Employment Opportunity Commission
207 5. Houston Sueet Poof ther they
Dallas, Texas 752020 oO ‘SS K 40 J
Re: Ch K. McNeill v. Fresh Inc.*
. EEOC Charge Nos 90-202, oars meats Ine. for & fect
Dear Mr. Schoff: —

Tyson Fresh Meats, Inc. (“Tyson”) submits this Positi
submitted by Christopher McNeill (*McNeill”).23

ion Statement in response to the Charge

1 Charging Party improperly Kdentifies “Tyson” as the Respondent in this matter. The appropriate Respondent in
this matter is Tyson Fresh Meats, Inc. Tyson Fresh Meats, Inc. respectfully requests that the Charge be amended

to reflect the appropriate Respondent.

accompanying documentation
is strictly confidential and not to be used for any purpose other

may not be disclosed publicly. See 42 U.S.C. §§ 2000e-5(b); 2000e-8(e); 29 CFR. §§ 1601.22, 1601.26; and 56
Fed. Reg. 10847. To the extent Charging Party is in receipt of this information or accompanying documentation,

®, This response Is based upon our understanding of the facts and the information reviewed thus far. Although

investigation, this response is
case 2g fgboo4s.2 Document 18 Filed 06/09/23 Page 20 of 34 PagelD 73

Mr. Ian Schoff, Investigator
February 21, 2022
Page 2

I. TYSON'S POLICIES AND PROCEDURES

A. TYSON'S POLICIES FORBIDDING DISCRIMINATION, HARASSMENT,
AND RETALIATION

Additionally, Tyson has an Equal Employment Opportunity Policy which provides that
employment decisions will not be made based upon any protected status Including religious
beliefs. (Exchibit 2).

Supervisors,
Compliance Department, and the Tell Tyson First hotline. The policy explains that Tyson will
Not retaliate against employees for raising any concerns. (Exdhibit 3).

B. TYSON’S COVID-19 POLICIES
Tyson's commitment to employee safety is further demonstrated in its COVID-19 practices.

After nearly eighteen months of using a combination of COVID-19 mitigation efforts to keep
its team members safe, Tyson grew concemed as COVID-19 and the Delta variant continued
to spread throughout the country. Tyson determined — based on guidance from the public

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Mr. Ian Schoff, Investigator

February 21, 2022 .

health authorities, other federal agencies, and a growing body of medical evidence — that
mandating vaccination was a necessary and effective measure to protect its workforce and
Contribute to the worldwide effort to combat the COVID-19 pandemic. Accordingly, on August

to receive the COVID-19 vaccine. Team members at Tyson’s production facilities, including
Mr. McNeill, were to be fully vaccinated by November 1, 2021. Tyson later distributed its
COVID-19 Vaccination Policy (the “Policy”) to all U.S. team members. (Exhibit 6).

Importantly, Tyson took steps to ensure the Policy is fair and addresses the needs of its team
members. Tyson provides reasonable accommodations to employees who cannot receive, or
object to receiving, the COVID-19 vaccine due to a sincerely held religious belief, practice, or

, observance. Those employees seeking a religious accommodation from the Policy must submit

such requests to Human Resources. Tyson's receipt of a vaccination accommodation request
initiates an interactive process between the requesting employee and Tyson to evaluate the
accommodation request and to consider what type of reasonable accommodation may be
available in the specific circumstance presented by the individual employee.

If no other reasonable accommodation is available at the time of the team member's deadline
to be fully vaccinated, Tyson offers an altemative reasonable accommodation through its

length of service with Tyson.> (See Exhibit 5 and Exhibit 6). In these uncertain times,
Tyson will continue to evaluate whether there are possible altemative reasonable
accommodations that de not impose an undue hardship on Tyson or on the requesting team
member's coworkers and would allow the team member to return to work.

TI MR. MCNEILL'S EMPLOYMENT

Mr. McNeill was employed by Tyson as a Maintenance Generalist. He worked at Tyson’‘s
Amarillo, Texas location in the Hides and Tannery division. In his role, Mr. McNeill was

* Once an employee exceeds the leave of absence permitted by the LOA Plus program, Tyson will assess whether
an additional unpaid leave of absence is to be provided pursuant to the Americans with Disabilities Act or other
applicable law.
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Mr. Ian Schoff, Investigator
February 21, 2022

Page 4

responsible for performing general maintenance duties on the physical facilities at the Amarillo
location. These job duties require that Mr. McNeill be physically present at work.

When ‘Tyson announced that all facility-based team members must be fully vaccinated, Mr.
McNeill requested an accommodation on October 5, 2021. Mr. McNeill did not specify any
panuoutar faith but stated that he believes “taking any vaccine will come between God, faith,

According to Mr. McNeitt's Charge, he received the single-dose Johnson & Johnson vaccine on

October 18, 2022, despite his alleged befiefs against vaccines. Although he did not submit his
vaccination card to Tyson, Mr. McNeill did tell Mr. Pontius later that same day that he had

Case BK Document 18 Filed 06/09/23 Page 23 of 34 PagelD 76
Mr. Ian Schoff, Investigator Z
February 21, 2022
Page 5 /

A. TYSON PROVIDED A REASONABLE RELIGIOUS ACCOMMODATION TO MR.
MCNEILL.

accommodation, Mr. McNeill must prove (i) he has a bona fide religious belief that conflicted
with a requirement of his employment; (ii) Tyson was aware of his belief; and (iii) he suffered

Mr. McNeill has failed to demonstrate that any sincerely-held religious belief would prevent
him from taking a COVID-19 vaccine because he decider io Become Silly wae
against COVID-19. In his accommodation request in his Charge, Mr. McNeill
identify a religion, though he does profess belief in “Gad.” Assuming for purposes of this
Positi :

Lied

Even if Mr. McNeil can demonstrate a bona fide religious belief (which he cannot), his
allegations fall because Tyson provided him with a reasonable accommodation by granting
LOA Plus to him effective November 1, 2022. Courts stress that, “[o]nce an employer has
established that it offered a reasonable accommodation, even if that alternative is not the
employee's preference, it has satisfied its obligation under Tite VII as a matter of law.”

Mr. McNelll's duties as a Maintenance Generalist required him to perform his work onsite. He

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>

Mr. Ian Schoff, Investigator
February 21, 2022

Page 6 I p—

of absence to be a reasonable accommodation "where the likelihood of encountering further

highly relevant in determining whether a proposed accommodation would produce an undue
hardship on the employer's business. Title VII does not require that safety be subordinated

B. TYSON DID NOT DISCRIMINATE AGAINST MR. MCNEILL DUE TO HIS
RELIGION.

Rubinstein v. Admins, of the Tulane Educ. Fund, 218 F.3d 392, 399 (Sth Cir. 2000).

Tyson's vaccination policy applies to all Tyson team members regardless of their religious
affiliation. Mr. McNeill falis to assert any facts that suggest Tyson treated similarly-situated
team members outside of his protected dass differently. Indeed, Mr. McNeill is not being

February 21, 2022 LC

” aE

singled out and cannot demonstrate that another similarly situated employee who was not in
his protected dass was treated more favorably. As such, he cannot establish a prima facie
case,

Even if Mr. McNeil could establish prima facie case of discrimination (which he cannot)
Tyson has legitimate, non-discriminatory reasons for its actions — namely, to mitigate the

IV. CONCLUSION

For these reasons, Tyson respectfully requests that the Commission dismiss Mr. McNelll’s
Charge.

Please contact me If you have any questions or if we may be of further assistance.
Sincerely,

Megan hue
Megatf Ruwe (Feb 21, 2022 16:55 CST)

Megan Ruwe

Enclosures
~w, U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Dallas District Office

207 S. Houston Street, 3rd Floor
Dallas, TX 75202

(800) 669-4000

Website: www.ceoc.gov

DETERMINATION AND NOTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161 & 161-A)

Issued On: 12/14/2022
To: Mr. Christopher K. McNeill
2200 S.W. 7° Avenue #602
Amarillo, TX 79106

Charge No: 450-2022-00676

EEOC Representative and email: Avie Murrell
Investigator
AVIE.MURRELL@EEOC.GOV

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 450-2022-00676.

On behalf of the Commission,
Shemell D. Perry crete yeonse ocue”

For Travis M. Nicholson
District Director

Case 2:23-cv-00041-Z Document 18 Filed 06/09/23

Ce:

Megan Ruwe

Tyson Foods, Inc.

2200 W DON TYSON PKWY
Springdale, AR 72762

Tracey Poyer

TYSON

2200 West Don Tyson Parkway
Springdale, AR 72762

Please retain this notice for your records.

Page 27 of 34

Date: 01/03/2023 Request for Employment Verification PageNo: 001
Time: 13:53:41 Tyson Foods, Inc. Client: 100

-
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NAME AND LAST KNOWN ADDRESS OF APPLICANT

| Christopher K McNeill Pers. No. 877588

- 814 South Lamar Street

| Amarillo,TX 79106

! VERIFICATION OF EMPLOYMENT
- Date of Employment 07/11/2016 l/ WI
| Date of Termination” 12/15/2022
Present Position
| Probability of Continued Employment

Remarks:

_ If Applicable, Is Continuation Likely: OVERTIME: BONUS:
| If Hourly, Average Hours Per Week :
Date of Applicants Next Pay Increase : N/A
| Projected Amount of Next Pay Increase: N/A
_ Date of Applicants Last Pay Increase :
Amount of Last Pay Increase :
| Current Gross Base Pay 2 21.75 PERIOD: HOURLY
Gross Earnings: 2023 2022 2021
Base Pay 0.00 1,572.00 36,536.81
Overtime 0.00 0.00 9,144.82 7
 Bonus/Prshr 0.00 0.00 1,550.00
Other 0.00 0.00 0.00
Total 0.00 1,572.00 47,231.63
|

| AUTHORIZED SIGNATURE
SIGNATURE OF EMPLOYER

8
: dnt lee lencel \ DATE : 01/03/2023 TIME: 13:53:41
| PRINTED SIGNATURE OF EMPLOYER PHONE: ‘226

He Cece

Tyson Foods, Inc. Payroll Dept

Case 2:23-cv-00041-Z Document 18 Filed 06/09/23 Page 29 of 34 PagelD 82

Unum ee @
PO Bax 9548 unui

Portland, ME 04104-5058
Phone: 877-975-3517
Fax: 207-575-2364

WwW.UNUT.COM
April 27, 2023
CHRISTOPHER K MCNEILL oe (
2200 SW 7TH AVENUE
APT 602

AMARILLO, TX 79106

RE: McNeill, Christopher K
Claim Number: 20554317
Policy Number: 111886
Unum Life Insurance Company of America

We are writing to provide you with information about your Long Term Disability appeal. This
letter does not constitute an appeal decision on your claim.

Benefits were not approved beyond January 15, 2023 on the basis you were no longer limited
from performing the duties of a gainful occupation; therefore, you no longer met the definition of
disability requirements. We believe the available information supports that decision.

The U.S. Department of Labor requires us to provide you with the opportunity to review and
respond to any new or additional evidence or rationale we considered, relied upon or generated
during the review process before a final decision is made on your appeal.

Enclosed is the new information. To avoid duplication, we did not include the information you
submitted to us in the enclosed documents.

Before we make a final decision on your disability claim, you have a right to review and respond
to this new information and/or rationale. Your response must be received by us no later than
May 12, 2023.

Any provided information should be time relevant to when your benefits ended on January 15,
2023.

if you do not wish to respond to this information and would prefer we make a final decision
immediately, please contact me.

If you have questions about your claim or this process, please call our Contact Center at 877-
975-3517, 8 a.m. to 8 p.m., Monday through Friday. If you prefer to speak with me personally, |
can be reached at the same toll-free number at extension, 42961.

We will identify your claim by your Social Security number or caim number, so please have one
of these numbers available when you call.

1242-03 UNUM IS A REGISTERED TRADEMARK AND MARKETING SRAND OF UNUM GROUP AND ITS INSURING SUBSIDIARIES,
Case 2:23-cv-00041-Z Document 18 Filed 06/09/23 Page 30 0f 34 PagelD 83

Sincerely,

Thomay 2 0

Lead Appeals Specialist

Enclosures: Appeals: Other

1242-03 UNUM IS A REGISTERED TRADEMARK AND MARKETING BRAND OF UNUM GROUP AND ITS INSURING SUBSIDIARIES.

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THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

CHRISTOPHER K. MCNEILL,
Plaintiff,

TYSON FRESH MEATS, INC.,
Defendant.

Case No.: 2:23-CV-041-Z
PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

Plaintiff Christopher K. McNeill ("Plaintiff" or "CKM"), PRO SE, hereby moves for summary judgment on
his claims against Defendant Tyson Fresh Meats, inc. ("Defendant" or "Tyson") for religious
discrimination, failure to reasonably accommodate, Intentional infliction of Emotional Distress,
Retaliation, and Negligence, pursuant to Rule 56 of the Federal Rules of Civil Procedure. In support of
this motion, Plaintiff submits the following undisputed material facts:

It is a matter of fact not a matter of opinion that the Defendant 1. Discriminated against CKM was 2.
Intentional and 3. Retaliatory and is still trying to deceive me and the court with answer #4 the second
non numbered statement, and finally that the defendant is liable for Negligence as the Defendant forced
CKM to take medical treatment in which he got injured that changed my life forever and pain and
suffering due to their 4. negligence and forcing CKM to take a medical procedure by coercion.

1. Discrimination:

Defendant admits that Plaintiff requested accommodations for their vaccine policy but did not clarify
that Plaintiff tried on 2 separate occasions 10-05-2021 again on 10-13-2021 on both occasions the
Plaintiff received the only policy that HR could offer Leave of Absence plus with no pay for a year or
Terminated in the spot, CKM was told before HR or Teamsters rep even read the religious exemption.
CKM tried to ask questions but was cut off and told that's it na conversation the Defendant knew my
accommodations before they knew CKM was even requesting an accommodation. There must be an
interactive process to have attempted to accommodate the Plaintiff. Tre Defendant signed a bargained
agreement on September 14, 2021, including a provision for interactive accommodations for employees
with religious exemptions. # 4 on the signed by Defendant stating that the Defendant would
accommodate by an interactive process to find out CKM has extensive sales manager in Ford BMW
DODGE MITSUBISHI etc. as sales manager 15 years been F&I manager 3 years the Defendant did not in
any way even try to accommodate CKM. The Plaintiff submitted two religious exemption requests, one
on October 5, 2021, and another on October 13, 2021, as well as an email to corporate on October 13,
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2021, begging in the email like he was at HR both days. It is a fact the Plaintiff received a policy that the
Defendant structured Nationwide and with the black and white signature of agreement can show it is a
fact that CKM was never interactively accommodated and with the agreement to accommodate there is
no undue hardship that can be claimed as the Defendant already bargained and signed agreement. CKM
will also attach the same two policies offered in Michigan. The EEOC makes it very clear that just
because an employee that momentarily gives into the force, coercion, discrimination does the thing he
tried to legally get accommodations for does not mean he gives up his rights.

It is a matter of Fact and not Opinion that Defendant Discriminated against

Plaintiff CKM in their own agreement.

Attachments

1A: Bargained agreement

2A: Religious Exemptions

3A: Michigan plant received same two options (policies) as my bargained interactive accommodation
(showing that | did not get accommodation as fact)

4A: EEOC cited CKM does not give up rights even if he momentarily gives in and takes medical treatment
he still has all his religious rights.

5A: Email to corporate same day as second try at religious exemption (shows how desperate defendant
was really trying to get an accommodation)

2. Intentional Infliction of emotional distress:

The Defendant intentionally ignored the Plaintiffs pleas on the Sth of October 2021, again on the 13th of
October, and never replied to any calls or emails. CKM asked please please please please please 5
pleases to at least reply to email sent on 10-13-2021 Chris was begging HR as in email that is attached
and will show how desperate the Plaintiff was CKM got nothing again. The Defendant would send
certified mail with the letter inside stating he had 10 days to pay on health benefits, but the mail wasn't
mailed until 12 days later so health insurance cancelled. The defendant calls and offers CKM workmen's
comp that he has to say no to because he would have to sign the Defendants paperwork making any
action the Plaintiff could take null and void. The Defendant has their own workman's comp. The
Defendant states on after answer #4. Admitting Jurisdiction (Tyson is without sufficient knowledge to
admit or deny whether CKM filed a charge of Discrimination with EEOC they also state whether |
received a right to sue. The Defendant answered the EEOC as respondent and got the exact same email
at the same time CKM got the email it was cc to them. They don't want the court to be aware that yes
they did know that and that is the intentional reason | was terminated with no notice 1 day after we
both got right to sue with no determination made by EEOC that was intentional and | also lost my long
term disability on 01-16-2023 so they are intentionally trying to hurt the person that has already had his
life changed forever due to the adverse reaction. Facts Intentional infliction of emotional distress.

1B: certified letter and date mailed

' 2B: Defendants employee name and # that offered workman's compensation

3B: proof Defendant knew of EEOC and answer as respondent

4B Right to sue letter cc to Defendant proof that they knew EEOC right to sue lied in answer 14th fired
CKM in 15th

3. Retaliation
The Defendant Cancelled CKM insurance with a very easy to see retaliation dating notice 12 days later

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mailing it was cancelled before CKM received when he needed it badly due to the adverse reaction that
he had. The Defendant Terminated him the day after they received the right to sue letter and they felt
like they could treat me any way again they felt | am glad this court can see it, I'm here and | am
attaching the form | got in January when I luckily found out by chance no one notified me, and they had
no reason for termination at the time. The long-term insurance stopped 31 days after | was released for
no reason no change in any physician that has seen or talked to me now, | haven't had any check since
1-11-2023 | am thankful that the court let me proceed. The very answer in this case is retaliation they
want this court to believe they are too big and that these attys didn't know... well I'm too poor to hire an
attorney and | am stating facts that they did know, and they tried to act like there unaware for only one
reason. So, this very Court wouldn't know that The Defendant fired me the next day after they did
receive my notice right to sue the same day | did. Defendant ended my long-term disability and didn't
care. CKM had nothing to fight back. | have GOD and he is still with me, and | am faithful that the wrongs
will be righted as

facts of discrimination

1C: Termination report

2C: Ending of long-term disability

4, Negligence

The Plaintiff has shown that from before he even knew he was going to ask for religious exemption that
the Defendant signed an agreement with his Union CKM has shown that it is a fact that the Defendant
did not have any interaction with him even when he was begging so it is a fact that they discriminated
against him by the terms of their very agreement and by that alone forcing by fear of homelessness,
food, livelihood coercion, made CKM take the medical treatment that caused the adverse reaction that
has been a part of his life as painful neuropathy in his legs since two weeks after the treatment or 11-04-
2021 that Defendant forced CKM to take.

Fact Negligence

1D: Definition of Negligence

WHEREFORE, Plaintiff respectfully requests and Prays that this Court enter summary judgment in his
favor on all claims, and award damages, costs, and any further relief the Court deems just and proper.

Dated: June 9 2023
CHRISTOPHER K MCNEILL

2200 SW 7TH AVE #602
806-410-6215

emcneill0114@gmail.com

Attachments:
Case 2:23-cv-00041-Z Document 18 Filed 06/09/23 Page 34 of 34 PagelD 87
What is negligence?

Negligence is when someone fails to use reasonable care, either by acting in a way that a reasonably careful person w
not act or by failing to act in a way that a reasonably careful person would under similar circumstances.

How to Prove Causation in Negligence

1. Establish a duty of care.

2. Demonstrate a breach of that duty of care.

3. Show causation between this breach and your injury.
4. Prove that negligence resulted in damages.

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ZB. Diet ¢ onl  Cavsaver vous Porced Maia Svenystrss
Lesh 90. yn Neo of toy

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Wt wD oar Ne \ “yr .

